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         UNITED STATES DISTRICT COURT FOR THE DISTRICT OF COLUMBIA

United States of America                        )
                                                )
    V.                                          )       USDC No. 21-cr-292-02 (RCL)
                                                )
Daniel Scott, defendant.                        )

                                           ORDER

         Upon good cause shown in Defendant's Unopposed Motion to Review Conditions of

Release, the lack of opposition from the United States, and on other evidence before the Court in

the record of the case, it is hereby

         ORDERED, this '2,,/$'ia'y of October, 2022, that the curfew condition imposed on the

defendant in the Amended Pretrial Release Order (ECF Doc. 155, page 2, if7(p)) is hereby

modified to "You are restricted to your residence every day from 10:00 p.m. to 6 a.m., or as

directed by the pretrial services office or supervising officer." and it is further

         ORDERED, that all other conditions of the defendant's release shall remain in effect.


                                       Hon. Royce C. Lamberth, Senior Judge
                                       United States District Court for the District of Columbia

Cc: Nathan I. Silver, Esq.
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    By ECF

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   U.S. Dept. of Justice (USAO-District of Washington)
   By ECF
